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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                NO. 4:14CR00191-04 JLH

NATHAN LESTER RAMER                                                                  DEFENDANT

                                             ORDER

       Attorney Jim Phillips was appointed to represent defendant Nathan Lester Ramer in this

matter on September 24, 2014. Mr. Phillips has now filed a motion seeking authorization of CJA

funds for investigative assistance to verify defendant’s criminal history and assist with preparation

of mitigation related to the sentencing hearing.

       The Court finds that the interests of justice would be best served authorizing the use of CJA

funds for the requested services in this case. However, pursuant to 18 U.S.C. § 3006A(e)(3), the

maximum amount for expert services shall not exceed $2,400 per individual. Payment in excess of

this amount must be approved by the Chief Judge of the Eighth Circuit once the CJA voucher has

been submitted. The motion is GRANTED. Document #430.

       IT IS SO ORDERED this 24th day of August, 2015.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
